 Case 8:22-cv-01116-JSM-CPT Document 1 Filed 05/13/22 Page 1 of 15 PageID 1




                       UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA
                               (Tampa Division)

 PELEUS INSURANCE COMPANY,

              Plaintiff,

       v.
                                              Case No. ______________________
 NEXT GENERATION
 MANAGEMENT, INC., BLACK &
 VEATCH CORPORATION,
 OVERLAND CONTRACTING, INC.,
 ADRIAN LOPEZ RAMIREZ,
 individually and as personal
 representative of the Estate of Adrian
 Lopez, and FRANCISCA MATIANO
 DE LOPEZ,

              Defendants.


               COMPLAINT FOR DECLARATORY JUDGMENT

      Plaintiff Peleus Insurance Company (“Peleus”) files this Complaint for

Declaratory Judgment and Unjust Enrichment, and, upon information and belief,

states as follows:

                               INTRODUCTION

      1.     This is an insurance coverage dispute in which Peleus seeks a judicial

determination of its rights and obligations, if any, under a primary policy and an

excess policy issued to Next Generation Management, Inc., for a suit brought by




                                          1
 Case 8:22-cv-01116-JSM-CPT Document 1 Filed 05/13/22 Page 2 of 15 PageID 2




Adrian Lopez Ramirez and Francisca Matiano De Lopez arising out of a gas

explosion at their home in Bradenton, Florida.

      2.     As   alleged    in   the   underlying    complaint,    Next   Generation

Management, Inc. was conducting horizontal directional drilling or directional

boring at a site in Bradenton, about 300 feet from Mr. Ramirez’s and Ms. Lopez’s

home on December 3, 2020, when it struck an underground natural gas line.

      3.     Gas from the damaged gas line allegedly flowed through a sewer line

due to the drilling and into Mr. Ramirez’s and Ms. Lopez’s home, where it caused

an explosion and fire.

      4.     Mr. Ramirez and Ms. Lopez, along with their son, Adrian Lopez, were

in the home at the time of the explosion and fire. All three suffered injuries, and

Adrian’s injuries were fatal.

      5.     Next Generation Management, Inc., Black & Veatch Corporation, and

Overland Contracting, Inc. have sought insurance coverage from Peleus for the

claimants’ underlying lawsuit, in which Mr. Ramirez and Ms. Lopez seek to

recover for their injuries sustained in the explosion and fire, as well as for the death

of Adrian.

      6.     Both the primary policy and the excess policy issued by Peleus

include a “Total Pollution Exclusion” that bars coverage for injury or damage that




                                           2
 Case 8:22-cv-01116-JSM-CPT Document 1 Filed 05/13/22 Page 3 of 15 PageID 3




would not have occurred, in whole or in part, but for the discharge, dispersal,

seepage, migration, release or escape of “pollutants” at any time.

      7.     The injuries sustained by Mr. Ramirez, Ms. Lopez and Adrian would

not have occurred but for the dispersal, seepage, migration, release or escape of

pollutants—namely, the gas that flowed from the damaged gas line through the

sewer and into their home—and, therefore, coverage for the underlying action is

barred by the Total Pollution Exclusion.

      8.     Accordingly, Peleus is entitled to a judicial declaration that coverage

for the underlying action is barred in its entirety by the Total Pollution Exclusion.

                    PARTIES, JURISDICTION AND VENUE

      9.     Plaintiff Peleus is a Virginia corporation with its principal place of

business in Richmond, Virginia.

      10.    Defendant Next Generation Management, Inc. (“NGM”) is a Florida

corporation with its principal place of business in Geneva, Florida.

      11.    Defendant Black & Veatch Corporation (“Black & Veatch”) is a

Delaware corporation with its principal place of business in Overland Park,

Kansas.

      12.    Overland Contracting, Inc. (“Overland”), is a Delaware corporation

with its principal place of business in Garner, North Carolina.




                                           3
 Case 8:22-cv-01116-JSM-CPT Document 1 Filed 05/13/22 Page 4 of 15 PageID 4




         13.   Adrian Lopez Ramirez is a resident of Bradenton, Florida, and a

Citizen of the State of Florida.

         14.   Francisca Matiano De Lopez is a resident of Bradenton, Florida, and

a Citizen of the State of Florida.

         15.   The Court has jurisdiction over this matter pursuant to 28 U.S.C.

§1332. There is complete diversity of citizenship between Plaintiff and Defendants,

and the amount in controversy is in excess of $75,000, exclusive of interest and

costs.

         16.   Defendants NGM, Black & Veatch, and Overland have tendered the

underlying lawsuit to Peleus and are seeking more than $75,000 in defense and

indemnity from Peleus under its policies. In the underlying lawsuit, Mr. Ramirez

and Ms. Lopez seek to recover damages in excess of $75,000 for their past and

future medical expenses, lost wages, loss of earning capacity, loss of net

accumulations, disability, inconvenience, pain, suffering, mental anguish and

emotional distress related to their own injuries, as well as damages for the

wrongful death of their son including medical and funeral expenses, loss of

prospective net accumulations, and mental pain and suffering.

         17.   This is an action for declaratory judgment, filed pursuant to Rule 57

of the Federal Rules of Civil Procedure and 28 U.S.C. § 2201, et seq. An actual case

and controversy of a justiciable nature exists between Plaintiff and Defendants,

                                          4
 Case 8:22-cv-01116-JSM-CPT Document 1 Filed 05/13/22 Page 5 of 15 PageID 5




involving the rights, duties, and obligations, if any, of the parties under insurance

policies issued by Peleus to NGM.

       18.       Venue in this District is proper pursuant to 28 U.S.C. § 1391(2), as a

substantial part of the events or omissions giving rise to this lawsuit occurred in

this District.

                                     THE POLICIES

The Primary Policy

       19.       Peleus issued Policy No. 164 GL 0179574-00 to NGM, for the Policy

Period of July 21, 2020 to July 21, 2021 (the “Primary Policy”). A true and correct

copy of the Primary Policy is attached as Exhibit 1.

       20.       Peleus, through its agent in Georgia, communicated its acceptance of

NGM’s offer to purchase the Primary Policy and issued the binder for the Primary

Policy to NGM’s agent in Georgia.

       21.       The Primary Policy was cancelled effective March 26, 2021.

       22.       The Primary Policy’s Commercial General Liability Coverage Part

(“CGL Coverage Part”) includes $1 million each occurrence and $2 million

aggregate limits of liability. See Primary Policy, CGL Coverage Part Declarations.

       23.       Subject to all of the stated terms, conditions and limitations, the

Primary Policy’s Coverage A – Bodily Injury and Property Damage Liability

Insuring Agreement affords specified coverage for those sums that the insured


                                             5
 Case 8:22-cv-01116-JSM-CPT Document 1 Filed 05/13/22 Page 6 of 15 PageID 6




becomes legally obligated to pay as damages because of “bodily injury” or

“property damage” that takes place during the policy period and is caused by an

“occurrence.” See Primary Policy, CGL Coverage Part, Section I.1.

      24.   NGM is the Named Insured under the Primary Policy.

      25.   The Primary Policy includes as additional insureds “all persons or

organizations as required by written contract with the Named Insured,”

            but only with respect to liability for “bodily injury”,
            “property damage” or “personal and advertising injury”
            caused, in whole or in part, by:

            1.    [NGM’s] acts or omissions; or

            2.    The acts or omissions of those acting on [NGM’s]
                  behalf;

            in the performance of [NGM’s] ongoing operations for
            the additional insured(s) ….

Primary Policy, Section II, as amended by the Additional Insured – Owners,

Lessees or Contractors – Scheduled Person or Organization Endorsement.

      26.   The Primary Policy defines “bodily injury” to mean bodily injury,

sickness or disease sustained by any person, including death resulting from any

of these at any time. See Primary Policy, CGL Coverage Part, Section V.3.

      27.   “Occurrence” is defined to mean an accident, including continuous or

repeated exposure to substantially the same general harmful conditions. See

Primary Policy, Section V.13.



                                        6
 Case 8:22-cv-01116-JSM-CPT Document 1 Filed 05/13/22 Page 7 of 15 PageID 7




      28.    Coverage A of the Primary Policy is subject to a “Total Pollution

Exclusion,” which provides that coverage does not apply to:

             “Bodily injury” or “property damage” which would not
             have occurred in whole or in part but for the actual,
             alleged or threatened discharge, dispersal, seepage,
             migration, release or escape of “pollutants” at any time.

Primary Policy, CGL Coverage Part, Section 1.2.f, as amended by the Total

Pollution Exclusion Endorsement.

      29.    The Primary Policy defines the term “pollutants” to mean “any solid,

liquid, gaseous or thermal irritant or contaminant, including smoke, vapor, soot,

fumes, acids, alkalis, chemicals and waste.” Primary Policy, Section V.15.

The Excess Policy

      30.    Peleus issued Excess Policy No. AUX4240500-00 to NGM for the

Policy Period of July 21, 2020 to July 21, 2021 (the “Excess Policy”). A true and

correct copy of the Excess Policy is attached as Exhibit 2.

      31.    Peleus, through its agent in Georgia, communicated its acceptance of

NGM’s offer to purchase the Excess Policy and issued the binder for the Excess

Policy to NGM’s agent in Georgia.

      32.    The Excess Policy was cancelled effective March 26, 2021.

      33.    The Excess Policy includes $4 million each occurrence and $4 million

aggregate limits of liability. See Excess Policy, Declarations.



                                          7
 Case 8:22-cv-01116-JSM-CPT Document 1 Filed 05/13/22 Page 8 of 15 PageID 8




      34.    Except as otherwise provided, the Excess Policy follows the same

provisions, exclusions and limitations as are contained in the Primary Policy, and

the Excess Policy affords coverage no broader than that provided by the Primary

Policy. See Excess Policy, Commercial Excess Liability Coverage Form (“Excess

Coverage Form”).

      35.    The Excess Policy applies only in excess of the the Primary Policy. See

Excess Policy, Declarations, Item 4, and Schedule of Underlying Insurance.

      36.    An additional insured under the “applicable underlying insurance,”

including the Primary Policy, is an additional insured under the Excess Policy. See

Excess Policy, Excess Coverage Form, Section I.1.b.

      37.    The Excess Policy includes a “Total Pollution Exclusion,” which

provides that the insurance does not apply to “injury or damage” which would

not have occurred in whole or in part but for the actual, alleged or threatened

discharge, dispersal, seepage, migration, release or escape of pollutants at any

time. See Excess Policy, Total Pollution Exclusion Endorsement.

      38.    The definition of “pollutants” in the Primary Policy also applies to the

Excess Policy. See Excess Policy, Section IV.

      39.    The Excess Policy defines “injury or damage” to mean any injury or

damage, covered in the “applicable underlying insurance” arising from an

“event.” Excess Policy, Section IV.5.

                                         8
 Case 8:22-cv-01116-JSM-CPT Document 1 Filed 05/13/22 Page 9 of 15 PageID 9




      40.       “Applicable underlying insurance” means the policy or policies of

“underlying insurance” that provide underlying coverage or loss that resulted in

a claim under the Excess Policy—here, the Primary Policy. See Excess Policy,

Section IV.1.

      41.       “Event” means, including but not limited to, an occurrence, offense,

accident or act, to which the “applicable underlying insurance” applies. See Excess

Policy, Section IV.4.

      42.       Together, the Primary Policy and Excess Policy are referred to as the

“Policies.”

        THE UNDERLYING ACTION AND CLAIM FOR COVERAGE

      43.       On or about June 14, 2021, Adrian Lopez Ramirez, individually and

as personal representative of the Estate of Adrian Lopez, and Francisca Matiano

De Lopez (together, the “Claimants”) filed their initial complaint in the action

captioned Ramirez, et al. v. Next Generation Management, Inc., et al., No. 21-CA-

004854 (Fla. Cir. Ct., Hillsborough Cnty.) (the “Underlying Action”) against NGM

and Tampa Electric Company d/b/a Peoples Gas System (“TECO”).

      44.       The Claimants filed the currently operative Corrected Second

Amended Complaint in the Underlying Action on January 6, 2022, which names

as   defendants      NGM,     TECO,    Frontier   Florida,   LLC   d/b/a    Frontier




                                           9
Case 8:22-cv-01116-JSM-CPT Document 1 Filed 05/13/22 Page 10 of 15 PageID 10




Communications of Florida (“Frontier Florida”), and Black & Veatch. See

Corrected Second Amended Complaint (“SAC”), attached as Exhibit 3.

      45.    On April 20, 2022, the Claimants filed an Amended Motion for Leave

to File Third Amended Complaint, seeking leave to file a Third Amended

Complaint naming as defendants NGM, TECO, Verizon Sourcing, LLC, Overland,

Black & Veatch, and Manweiler Telecom Consulting, LLC. See Amended Motion

for Leave to File Third Amended Complaint with Proposed Third Amended

Complaint (“TAC”), attached as Exhibit 4.

      46.    In the Underlying Action, the Claimants allege that, on or about

December 3, 2020, NGM was conducting horizontal directional drilling or

directional boring (“HDD”) at a site in Bradenton, Florida, approximately 300 feet

from the Claimants’ home when NGM struck and damaged an underground

natural gas line. See SAC, ¶¶ 22-24, 32.

      47.    As alleged in the Underlying Action, TECO and fire department

personnel responded to the incident and allegedly found that gas was flowing

from the gas line into a sewer line due to NGM’s drilling. See SAC, ¶¶ 25-29.

      48.    The Claimants allege that the defendants in the Underlying Action

failed to notify Claimants of the dangers of the gas leak despite the proximity of

their home to the site of the leak. See SAC, ¶¶ 35-36.




                                           10
Case 8:22-cv-01116-JSM-CPT Document 1 Filed 05/13/22 Page 11 of 15 PageID 11




       49.   Claimants allege that the gas flowed through the sewer, entering their

home, for more than two hours, eventually causing an explosion and fire in their

home while Claimants and their son were inside. See SAC, ¶¶ 38-40.

       50.   Mr. Ramirez and his son Adrian Lopez allegedly suffered significant

burns, with Adrian Lopez dying from his injuries on January 13, 2021. Ms. Lopez

also allegedly sustained injuries in the explosion. See SAC, ¶¶ 42-46.

       51.   As against NGM, the SAC asserts a count for negligence, alleging that

NGM was negligent by, among other things, failing to implement safe working

practices, failing to properly train and supervise employees working on the HDD

project, and failing to develop a site-specific emergency action plan. See SAC, ¶ 79.

       52.   Claimants allege that Black & Veatch contracted with Frontier Florida

to perform or oversee HDD at the site in Bradenton, and that NGM contracted

with or was a subcontractor hired by Black & Veatch to conduct the HDD work

and was performing this work on the day of the incident. See SAC, ¶¶ 63-67, 151-

153.

       53.   As against Black & Veatch, the SAC assert counts for negligence and

vicarious liability for NGM’s alleged negligence. See SAC, ¶¶ 149-183.

       54.   The proposed TAC includes the same allegations and counts as the

SAC, and adds counts against Overland for negligence and vicarious liability for




                                         11
Case 8:22-cv-01116-JSM-CPT Document 1 Filed 05/13/22 Page 12 of 15 PageID 12




NGM’s purported negligence, alleging that Overland contracted with NGM for

NGM to perform HDD at the Bradenton site. See TAC, ¶¶ 206-240.

      55.    NGM tendered the Underlying Action to Peleus for coverage under

the Primary Policy.

      56.    Black & Veatch and Overland have tendered the Underlying Action

to Peleus for coverage under the Primary Policy as additional insureds pursuant

to a Subcontract for Construction Services between NGM and Overland (the

“Subcontract”).

      57.    Peleus currently is providing NGM with a defense in the Underlying

Action, subject to a full and complete reservation of its rights under the Primary

Policy and at law.

      58.    Peleus also currently is providing Black & Veatch with a defense in

the Underlying Action, separate and apart from the defense of NGM, subject to a

full and complete reservation of its rights under the Primary Policy and at law.

             COUNT I – REQUEST FOR DECLARATORY RELIEF
              POLLUTION EXCLUSION – PRIMARY POLICY

      59.    Peleus incorporates by reference paragraphs 1-58 as if fully set forth

herein.

      60.    Pursuant to the Total Pollution Exclusion, coverage under the Primary

Policy does not apply to:



                                        12
Case 8:22-cv-01116-JSM-CPT Document 1 Filed 05/13/22 Page 13 of 15 PageID 13




             “Bodily injury” or “property damage” which would not
             have occurred in whole or in part but for the actual,
             alleged or threatened discharge, dispersal, seepage,
             migration, release or escape of “pollutants” at any time.

Primary Policy, CGL Coverage Part, Section 1.2.f, as amended by the Total

Pollution Exclusion Endorsement.

      61.    The Primary Policy defines “pollutants” to mean “any solid, liquid,

gaseous or thermal irritant or contaminant, including smoke, vapor, soot, fumes,

acids, alkalis, chemicals and waste.” Primary Policy, Section V.15.

      62.    The gas that allegedly flowed through a break in the natural gas line,

through the sewer, and into Claimants’ home, is a “pollutant” within the meaning

of the Primary Policy.

      63.    The Underlying Action alleges injury that would not have occurred,

in whole or in part, but for the discharge, dispersal, seepage, migration, release or

escape of that “pollutant.”

      64.    Therefore, the Total Pollution Exclusion applies to bar all coverage

under the Primary Policy for the Underlying Action.

            COUNT II – REQUEST FOR DECLARATORY RELIEF
              POLLUTION EXCLUSION – EXCESS POLICY

      65.    Peleus incorporates by reference paragraphs 1-58 as if fully set forth

herein.




                                         13
Case 8:22-cv-01116-JSM-CPT Document 1 Filed 05/13/22 Page 14 of 15 PageID 14




      66.    Pursuant to the Total Pollution Exclusion, coverage under the Excess

Policy does not apply to:

             “Injury or damage” which would not have occurred in
             whole or in part but for the actual, alleged or threatened
             discharge, dispersal, seepage, migration, release or
             escape of pollutants at any time.

Excess Policy, Total Pollution Exclusion Endorsement.

      67.    The definition of “pollutants” in the Primary Policy also applies to the

Excess Policy. See Excess Policy, Section IV.

      68.    The Underlying Action alleges injury or damage that would not have

occurred, in whole or in part, but for the discharge, dispersal, seepage, migration,

release or escape of “pollutants”—that is, the gas that flowed through a break in

the gas line, through the sewer, and into the Claimants’ home.

      69.    Therefore, the Total Pollution Exclusion applies to bar all coverage

under the Excess Policy for the Underlying Action.

      WHEREFORE, Peleus Insurance Company respectfully moves this Court

for entry of Declaratory Judgment in its favor as follows:

      a)     Declaring that the Total Pollution Exclusion applies to bar coverage

in its entirety under the Primary Policy for the Underlying Action;

      b)     Declaring that the Total Pollution Exclusion applies to bar coverage

in its entirety under the Excess Policy for the Underlying Action;



                                         14
Case 8:22-cv-01116-JSM-CPT Document 1 Filed 05/13/22 Page 15 of 15 PageID 15




      c)    Declaring that Peleus owes no duty to defend or indemnify NGM,

Black & Veatch, Overland, or any other party under the Primary Policy or the Excess

Policy in connection with the Underlying Action or the December 3, 2020 incident;

and

      d)    Awarding such further relief as the Court may deem appropriate.

Dated: May 13, 2022
                                             ROBERTS TATE LLC

                                             /s/ Lena Mirilovic
                                             Lena Mirilovic
                                             Florida Bar No. 92492
                                             lmirilovic@robertstate.com
                                             Parker J. Lavin
                                             (pro hac vice motion to be filed)
                                             plavin@robertstate.com
                                             Attorneys for Plaintiff Peleus Insurance
                                             Company
      2487 Demere Road, Suite 400
      St. Simons Island, GA 31522
      912.638.5200 (telephone)
      912.638.5300 (facsimile)




                                        15
